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  6
      Attorneys for Huntington Beach Gables Homeowners Association
  7
  8                          UNITED STATES BANKRUPTCY COURT
  9              CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10

 11   In re:                                           Case No. 8:21-bk-11710-SC
 12   JAMIE LYNN GALLIAN,
                                                       Chapter 7
 13
                                                       HUNTINGTON BEACH GABLES
 14                Debtor.                             HOMEOWNERS ASSOCIATION’S
                                                       JOINDER TO TRUSTEE’S
 15                                                    OPPOSITION TO DEBTOR’S NOTICE
                                                       TO ABANDON PROPERTY OF THE
 16                                                    ESTATE
 17
                                                       [No Hearing Set]
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  1          The Huntington Beach Gables Homeowners Association (“HOA”) hereby joins in the
  2   Trustee’s Notice of Opposition, Opposition and Request for Hearing to Debtor’s Notice to
  3   Trustee to Abandon Estate’s Interest in reinvested Funds from Sale of Unit 53, 10/31/2018 APN
  4   937-630-53 to Purchase LBM1081 on November 1, 2018, and Against Jamie Lynn Gallian
  5   Relating to the Purchase in the Personal Property Commonly Known as 16222 Monterey Ln
  6   #376, Huntington Beach, California 92649 (Docket No. 222) (“Opposition”) filed on September
  7   8, 2022.
  8
      Dated: September 9, 2022                           Respectfully submitted by
  9
 10                                                      GOE FORSYTHE & HODGES LLP

 11                                                      By: /s/ Robert P. Goe
                                                            Robert P. Goe
 12                                                         Brandon J. Iskander
                                                            Attorneys for Huntington Beach Gables
 13                                                         Homeowners Association
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 17701 COWAN, BUILDING D, SUITE 210, Irvine, California 92614.

A true and correct copy of the foregoing document entitled (specify): HUNTINGTON BEACH GABLES HOMEOWNERS
ASSOCIATION’S JOINDER TO TRUSTEE’S OPPOSITION TO DEBTOR’S NOTICE TO ABANDON PROPERTY OF
THE ESTATE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
09/09/2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _09/09/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Document Delivery to Court Suspended General Order 21-05


                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  September 9, 2022                        Arthur E. Johnston                                  /s/ Arthur E. Johnston
  Date                          Printed Name                                                   Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
August 2010                                                                                       F 9013-3.1.PROOF.SERVICE
       Case 8:21-bk-11710-SC    Doc 223 Filed 09/09/22 Entered 09/09/22 15:26:54        Desc
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1.      TO BE SERVED BY THE COURT VIA NOTICEOF ELECTRONIC FILING (NEF):
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•       Valerie Smith claims@recoverycorp.com
•       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2.     SERVED BY UNITED STATES MAIL:

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 Huntington Beach, CA 92649                        El Paso, CA 79937
 Michael D Poole
 Feldsott & Lee
 23161 Mill Creek Dr Ste 300
 Laguna Hills, CA 92653
